                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                          Case No. 11-58953

MICHAEL E. McINERNEY, pro se,                                   Chapter 11

            Debtor.                                             Judge Thomas J. Tucker
______________________________________/

                           OPINION REGARDING THE BECKER
                        MOTION FOR SANCTIONS AGAINST DEBTOR

I. Introduction

         This opinion concerns what the Court finds to be a Chapter 11 debtor’s willful failure to

provide important discovery to the United States Trustee and to a large creditor, before an

evidentiary hearing on confirmation of the Debtor’s proposed plan. The creditor filed a motion

seeking significant and dispositive sanctions. For the reasons stated in this opinion, the Court

will grant sanctions that are more limited than those requested.

II. Background

         The Debtor in this Chapter 11 case, Michael E. McInerney, has proposed a plan and seeks

confirmation. The United States Trustee and other parties in interest object to confirmation, and

a major creditor, Charles E. Becker, Trustee,1 also seeks to convert this case to Chapter 7. After

holding two confirmation hearings, on March 21, 2012 and May 2, 2012, the Court entered an

Order on May 3, 20122 scheduling an evidentiary hearing, to be held on June 26, 2012. The

subjects of the evidentiary hearing were to be: (1) confirmation of the Debtor’s proposed plan,



         1
          The full name of this creditor is Charles E. Becker, Trustee under Trust Agreement of Charles
E. Becker Dated September 16, 1977 as Amended (“Becker”).
         2
             Docket # 215.



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entitled “Debtor’s First Amended Combined Plan of Reorganization and Disclosure Statement”

(the “First Amended Plan” (Docket # 155)); and (2) the motion to convert this case to Chapter 7

filed by Becker (Docket # 173, the “Becker Conversion Motion”).

       The Court’s May 3, 2012 Order granted leave to both the Debtor and to Becker to

conduct discovery, with such discovery to be completed by June 18, 2012. The Order also

required the Debtor and Becker to deliver to each other, no later than June 21, 2012, “a witness

list, an exhibit list, and a copy of all marked exhibits that the party may use at the evidentiary

hearing.”

       On June 19, 2012, one week before the June 26 evidentiary hearing was scheduled to

begin, Becker filed a motion seeking sanctions against Debtor, for Debtor’s alleged failure to

provide required discovery (the “Becker Sanctions Motion”).3 The motion seeks an order

granting the following relief: (1) an order prohibiting Debtor from introducing any evidence at

the June 26 evidentiary hearing “regarding Debtor’s business ‘prospects’ or future sources of

income that have not previously been provided to Becker’s counsel;” (2) an order granting

Becker’s pending motion to convert this case to Chapter 7; and (3) an order requiring Debtor to

pay Becker’s counsel the reasonable fees and costs associated with bringing the motion.4

       The Court scheduled an expedited hearing on the Becker Sanctions Motion, to occur on

June 26, 2012 before the beginning of the evidentiary hearing. The Debtor filed a written




       3
          Motion to Sanction Debtor by Prohibiting the Introduction of Additional Evidence, filed June
19, 2012 (Docket # 273).
       4
            See id. at 10, and the proposed Order attached to the motion.

                                                      2



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response opposing the motion, twenty-five minutes before the expedited hearing began.5 Debtor

and Becker presented oral arguments at the June 26 hearing, and the Court then ordered Becker

to file certain documents as supplements to its motion, which Becker did later that day. The

Court then took the Becker Sanctions Motion under advisement. The Court adjourned the

evidentiary hearing to July 24, 2012.

       The Debtor is an attorney, but he is neither a litigation attorney nor a bankruptcy attorney.

From the beginning of this bankruptcy case, which was filed on July 12, 2011, the Debtor was

represented by Michael Zousmer, an attorney experienced in Chapter 11 bankruptcy cases. But

on May 24, 2012, just over three weeks after the May 2 confirmation hearing, and in the middle

of the discovery period that was to end on June 18, 2012, attorney Zousmer filed a motion

seeking leave to withdraw as Debtor’s counsel.6 The motion stated, without further detail, that

there had been “a breakdown in the attorney-client relationship,” and that Zousmer and his firm

were “no longer able to represent Debtor.”7 After no one timely objected to Zousmer’s motion,

the Court granted Zousmer leave to withdraw, in an Order filed on June 15, 2012.8 Under the

terms of that Order, Zousmer’s withdrawal became effective on June 18, 2012, when Zousmer

filed a certificate of service regarding the Order.9

       So beginning officially on June 18, 2012, and as a practical matter beginning sometime



       5
           Docket # 293.
       6
           Docket # 236.
       7
           Id. at ¶ 5.
       8
           Docket # 258.
       9
           Docket # 259.

                                                    3



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before that date, the Debtor has been without counsel in this case. At least through the date of

this opinion, Debtor has chosen to represent himself in this case, rather than seeking to obtain

new counsel.

        During the pre-evidentiary hearing discovery period (May 2, 2012 through June 18,

2012), the Debtor was deposed, in a Fed.R.Bankr.P. 2004 examination initiated by the United

States Trustee. The Court ordered this examination in a stipulated order filed on June 13,

2012.10 This examination occurred on June 18, 2012, the last day of the discovery period.

Debtor was not represented by counsel during this examination.

        Becker attended and participated in the June 18, 2012 examination of Debtor. On June

14, 2012, on motion by Becker, the Court had entered an order allowing Becker to actively

participate in the examination, including the right to “question Debtor . . . regarding any and all

of his alleged business ‘prospects,’ ‘investments,’ and/or future sources of income.”11 In

addition, Becker had previously conducted a Rule 2004 examination of the Debtor, on March 5,

2012.

III. Debtor’s failure to provide required discovery

        As discussed in detail below, it is clear from the record, and the Court finds, that the

Debtor has not fully cooperated in discovery, and has improperly failed to disclose information

regarding the Debtor’s current and future prospects and sources for income.

        This is a very important subject in this case. Debtor’s Chapter 11 plan, the First

Amended Plan, requires Debtor to make substantial future monthly payments to a number of


        10
             Docket # 246.
        11
             Docket # 254.

                                                  4



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creditors, and the total amount of these monthly payments appears to substantially exceed the

income and financial ability Debtor has had during the pendency of this case, as shown by

Debtor’s monthly operating reports filed to date.

        In order to confirm his proposed Chapter 11 plan, Debtor must prove that he will have the

ability to make all of the payments required by the plan. See generally 11 U.S.C. § 1129(a)(11)

(sometimes referred to as the “feasibility” requirement for confirmation of a Chapter 11 plan).12

This is a hotly contested issue, and the parties and the Court discussed this issue at length during

the May 2, 2012 confirmation hearing.13 Becker and the United States Trustee object to

confirmation and contend, among other things, that Debtor does not have, and is not likely to

have, the ability to make all of the payments required under Debtor’s First Amended Plan.

        Debtor’s failure to properly disclose information regarding his current and future

        12
             Section 1129(a)(11) requires, for confirmation of a Chapter 11 plan, that:

                  Confirmation of the plan is not likely to be followed by the liquidation,
                  or the need for further financial reorganization, of the debtor or any
                  successor to the debtor under the plan, unless such liquidation or
                  reorganization is proposed in the plan.

11 U.S.C. § 1129(a)(11).
        13
           See, for example, the series of questions asked by the Court of Debtor’s counsel, Mr.
Zousmer, and Mr. Zousmer’s answers, during the May 2, 2012 confirmation hearing, (Tr. at 85-94
(Docket # 260)). As part of his argument, Mr. Zousmer stated that “Mr. McInerney says that he has
reason to believe that his income will increase, and he's happy to testify as to that.” (Id. at 93). The
Court then asked Mr. Zousmer this question: “[W]hat is the basis for Mr. McInerney's belief that his
income will increase in the future?” Zousmer’s response was:

                  Additional prospects for consulting employment, your Honor. Mr.
                  McInerney has started this consulting stuff in the relative near past and
                  has been quite successful with it and through his contacts and through
                  various entities with whom he is in discussions believes that his income
                  will significantly increase in the very near future.

(Id. at 93-94).

                                                      5



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prospects for and sources of income includes the following:

       " During his March 5, 2012 deposition/Rule 2004 examination, Debtor refused to fully
         answer, on the record, questions from Becker’s counsel about who he was then doing
         consulting services for.14

       " During the June 18, 2012 deposition/Rule 2004 examination, Debtor admitted the
         following:

                            Q. Are you aware that you've provided no evidence
                            that you have any ongoing prospect for future
                            income from consulting?
                            A. So far.
                            Q. Do you plan to provide those at the confirmation
                            hearing?
                            A. Yes.15

       " During the June 18, 2012 deposition/Rule 2004 examination, Debtor refused to
         provide any information about possible future sources of consulting income that he
         was working on, other than the Archdiocese of Detroit. Debtor testified as follows, in
         response to questions by counsel for the United States Trustee:

                            Q. My next question. As we sit here today you don't
                            know where your income will come otherwise then
                            from the Archdiocese for next month?

                            A. Not prepared to discuss it is really my answer.
                            I'm working on some things and they're not finalized
                            and I'm really not prepared to, I'm not comfortable
                            discussing that without counsel because it obviously
                            relates to the subject matter with the hearing.16

                            ...

                            Q. Let me just be clear. So other than you saying
                            you're not comfortable giving me that information
                            without having counsel you're not going to answer


       14
            March 5, 2012 Tr. (Docket # 212) at 7-8.
       15
            June 18, 2012 Tr. (Docket # 276) at 76-77.
       16
            Id. at 60-61.

                                                       6



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                      the question beyond what you just said?

                      A. That's correct.

                      Q. Okay. I'm not going to beat a dead horse. All
                      right.

                      I'm going to have the same questions for how about
                      August 2012, what's your anticipated source of
                      income coming up in August?

                      A. My answer would be the same answer.17

                      ...

                      Q. So I'm not beating a dead horse and taking up
                      time, would your answer be the same for the
                      foreseeable September, October, November,
                      December to the end of this year?

                      A. Yes.

                      Q. Okay. How about starting in 2013? So starting
                      next year, any idea where is your source of income
                      coming from? Archdiocese?

                      A. The same answer.18

                      ...

                      Q. As we sit here, do you have proof or guarantee
                      that your income is going to continue beyond what
                      it is right now for any length of time in the future?

                      A. The answer to that is the same answer I already
                      provided.

                      Q. Going back, I'm paraphrasing, but essentially
                      you're uncomfortable taking about it without having


    17
         Id. at 62.
    18
         Id. at 63.

                                                 7



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                      an attorney?

                      A. Correct.

                      Q. And other than we've also discussed the
                      Archdiocese?

                      A. Correct. And I'm working on some things but
                      nothing finalized.

                      Q. But you got no proof of that to provide to me
                      today as we sit here?

                      A. That's correct.19

    " At this point during the June 18 examination, Becker’s counsel began his questioning
      of Debtor by having Debtor read aloud the part of the Court’s June 14, 2012 Order
      allowing Becker’s counsel to “question Debtor . . . regarding any and all of his alleged
      business ‘prospects,’ ‘investments,’ and/or future sources of income.”20 But despite
      this reminder, Debtor then repeatedly refused to answer questions by Becker’s
      counsel about this subject. The transcript is quoted at length to give the full flavor of
      Debtor’s stubborn refusal to answer numerous perfectly appropriate questions:

                      Q. The earnings then is that primarily then from
                      consulting work?

                      A. Consulting or employment.

                      Q. Do you have any employment prospects at this
                      time?

                      A. Not that I'm prepared to discuss for the same
                      reasons that I indicated to [counsel of the United
                      States Trustee].

                      Q. Do you believe you have a valid objection to
                      answering these questions?

                      A. I gave you my answer.


    19
         Id. at 66.
    20
         Order (Docket # 254); June 18, 2012 Tr. (Docket # 276) at 67.

                                                 8



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                      Q. Are you an attorney licensed to practice in the
                      State of Michigan?

                      A. Yes.

                      Q. Okay. And you don't believe you have any valid
                      objections, then?

                      A. I don't know about objections. I've given you my
                      answer.

                      Q. Your answer is you refused to testify without an
                      attorney present?

                      A. That's what my answer was.21

                      ...

                      Q. I'm going to ask you some questions here. I
                      expect that you're going to tell me that you don't
                      want to answer them and that's fine. I want to make
                      a record of them.

                      Q. Do you have any prospects for independent
                      consulting work?

                      A. Same answer as before.

                      Q. How many prospects do you have for
                      independent consulting work?

                      A. Same answer as before.

                      Q. What is the likelihood that any of these come to
                      fruition and you're able to continue doing contract
                      work?

                      A. Very good.

                      Q. Do you intend to retain counsel in this matter?



    21
         June 18, 2012 Tr. (Docket # 276) at 71-72.

                                                 9



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                  A. Not sure.

                  Q. So you won't answer these questions without
                  retaining counsel and you're not sure if you're going
                  to retain counsel?

                  A. First of all, that's not what I said as far as
                  answering the questions, and second of all, no, I'm
                  not sure as I just said about retaining counsel.

                  Q. Under what circumstances would you be ready to
                  answer these questions regarding your future
                  prospects for consulting work?

                  A. Finalizing one of the things that I'm working on
                  that I alluded to repeatedly and possibly retaining
                  counsel, and possibly not.

                  Q. So none of them are finalized?

                  A. That's what I've said a couple of times.

                  Q. And if they're finalized you still may not be
                  willing to testify about it without counsel?

                  A. Not going to speculate about that.

                  Q. Well, you're not answering the questions –

                  A. Evidentiary hearing I'm going to have to.

                  Q. You're in a deposition right now and you're still
                  refusing to, so that doesn't mean a lot to me. Are
                  you aware that you're in a Chapter 11 Bankruptcy
                  right now?

                  A. Yes.

                  Q. Are you aware that you have a duty in the order
                  to make your plan confirmable to prove that you
                  have sources of income that can sustain that plan?

                  A. Sure.


                                           10



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                  Q. Okay. Are you aware that you've provided no
                  evidence that you have any ongoing prospect for
                  future income from consulting?

                  A. So far.

                  Q. Do you plan to provide those at the confirmation
                  hearing?

                  A. Yes.

                  Q. Do you plan to exchange exhibits prior to that?

                  A. I plan to comply with the court's order.

                  Q. That's this Thursday. Do you plan to have that
                  finalized by Thursday to exchange those contracts?

                  A. I plan to comply with the court's order.

                  Q. Are they going to be ready by this Thursday?

                  A. Whatever I have by Thursday I will provide.

                  Q. And if it's not provided by Thursday are you
                  going to try to introduce it at the confirmation
                  hearing?

                  A. If it's finalized after then, yes.

                  Q. Are you going to make that person available for
                  deposition?

                  A. I'm not going to do anything to that person.

                  Q. The person that's going to give you as you said
                  very likely a source of continuing income are they
                  going to be present at the confirmation hearing to
                  answer questions?

                  A. I have no idea.

                  Q. Are you going to ask them to be present at the


                                              11



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                          confirmation hearing?

                          A. I have no idea.

                          Q. You don't know whether or not you're going to
                          ask a witness to come to the confirmation hearing
                          that's next week?

                          A. I don't know.

                          Q. Why do you not know?

                          A. Because I don't know.

                          Q. Well, you don't know because you haven't
                          confirmed the deal yet? You don't know because it's
                          not part of your strategy?

                          A. I don't know.

                          Q. When do you expect to have this deal wrapped
                          up?

                          A. I've already answered that.

                          Q. No, you haven't. When do expect to have the
                          deal wrapped up?

                          A. Prior to the confirmation hearing.22

                          ...

                          Q. What is the name of the person you're
                          negotiating with right now for any future
                          employment contracts or future consulting
                          contracts?

                          A. Same answer.

                          Q. What is their phone number?



     22
          Id. at 75-78.

                                                   12



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                  A. Same answer.

                  Q. What is their address?

                  A. Same answer.

                  Q. What city are they located?

                  A. Same answer.

                  Q. What type of work would you be doing for
                  them?

                  A. Same answer.

                  Q. Have payment terms been discussed?

                  A. Same answer.

                  Q. What are the payment terms?

                  A. Same answer.

                  Q. Has this agreement been memorialized in writing
                  in anyway?

                  A. No.

                  Q. How long have you been in contact with said
                  person negotiating this?

                  A. On and off for several months.

                  Q. And if the contract is finalized and signed and
                  you go to work when would you begin work?

                  A. Remains to be determined, that's part of what's
                  not finalized.

                  Q. Are there more than one person you're currently
                  in negotiations with?

                  A. Yes.


                                            13



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                             Q. How many are there?

                             A. Same answer as before.

                             Q. Are there more than ten people you're in
                             negotiations with?

                             A. Same answer.

                             Q. More than twenty?

                             A. Same answer as before.

                             Q. Less than five?

                             A. Same answer as before.23

       " Debtor failed to serve any witness list or exhibit list, or any exhibits, on Becker’s
         counsel or counsel for the United States Trustee, by the June 18, 2012 deadline set by
         the Court’s May 3, 2012 Order.

       " In his June 26, 2012 written response to the Becker Sanctions Motion, and during the
         June 26, 2012 hearing on Becker’s motion, Debtor revealed, for the first time, that he
         had just signed a letter agreement with Endura Coatings, LLC of Sterling Heights,
         Michigan (“Endura Coatings”). Under that one-page agreement, dated June 25, 2012,
         Endura Coatings and Debtor agree that Debtor will provide certain consulting services
         for a minimum of two years, at a compensation rate of $20,000 per month.24

       " During the June 26 hearing, Debtor stated that this consulting agreement with Endura
         Coatings had been an open offer to him for several months. Yet Debtor did not reveal
         this prospect or anything about it during his Rule 2004 examinations on March 5,
         2012 or June 18, 2012. This is particularly outrageous with respect to Debtor’s
         refusal and failure to reveal anything about the prospective deal with Endura Coatings
         during the June 18, 2012 examination. The Court specifically ordered, in the June 14,
         2012 order, that during the June 18 examination Becker could “question Debtor . . .
         regarding any and all of his alleged business ‘prospects,’ ‘investments,’ and/or future




       23
             Id. at 80-81.
        24
          A copy of this document is attached as Exhibit A to Debtor’s written response filed on June
26, 2012 (Docket # 293).

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              sources of income.”25 And as noted above, Becker’s counsel specifically reminded
              Debtor of this Order during the June 18 examination.

        Debtor’s claimed excuse for the above failings is, in essence, that until he made his

agreement with Endura Coatings on June 25 — seven days after the discovery period ended on

June 18 and the day before the evidentiary hearing was scheduled to begin — anything Debtor

might say about his future income prospects would have been speculative. Even if this is true,

however, under the circumstances, this is not a valid excuse for Debtor’s refusals and failures to

answer the questions he was asked and to provide information. Instead, Debtor should have

testified fully and openly about all of the possible prospects he was considering and pursuing,

and to the extent they were still speculative or unsettled, Debtor could have made that clear in his

testimony. Indeed, the fact that all of Debtor’s future income prospects were still merely

speculative, as late as June 18, 2012, is itself significant, with respect to the feasibility of

Debtor’s First Amended Plan, and with respect to the issue of whether Debtor proposed his First

Amended Plan in good faith, as required by 11 U.S.C. § 1129(a)(3).26

        Under the circumstances, the Court finds that the Debtor failed to fully comply with the

orders requiring him to appear for and testify at the March 5, 2012 and June 18, 2012 Rule 2004

examinations;27 that Debtor failed to comply with the Court’s May 3, 2012 Order28 by failing to


        25
             Docket # 254.
        26
          Debtor filed his First Amended Plan on February 7, 2012 (Docket # 155). The first hearing on
confirmation of that plan was March 21, 2012.
        27
             Docket ## 110, 246, 254.
        28
           Docket # 215. In this regard, Debtor stated at the June 26 hearing that as of the June 18
deadline, he did not have any exhibits to present and his only witness would be himself. (The consulting
agreement between Debtor and Endura Coatings, according to Debtor, was not signed until June 25,
2012.) There are at least two problems with Debtor’s arguments here. First, Debtor was required to

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serve on Becker and the United States Trustee, by the June 18, 2012 deadline, a witness list,

exhibit list, and copies of exhibits for the evidentiary hearing; and that the Debtor has failed to

comply with his discovery obligations under Fed.R.Civ.P. 30(c)(2) and 26(b)(1) with respect to

the June 18, 2012 deposition/examination.29

        As a result, the Court has authority to sanction the Debtor, under the Court’s inherent

power to enforce its orders; under 11 U.S.C. § 105(a); and under Fed.R.Civ.P. 37, which applies

in this case under Fed.R.Bankr.P. 9014(c) and 7037. See, e.g., In re Mehlhose, 469 B.R. 694,

709-11 (Bankr. E.D. Mich. 2012); Holley v. Kresch Oliver, PLLC (In re Holley), 2012 WL

2777735 (Bankr. E.D. Mich., June 1, 2012) at *1-*3; Shapiro v. Plante & Moran, LLP (In re

Connolly North America, LLC), 376 B.R. 161, 181-83 (Bankr. E.D. Mich. 2007); see also John

Richards Homes Bldg. Co., L.L.C. v. Adell (In re John Richards Homes Bldg. Co., L.L.C.), 404

B.R. 220, 227 (E.D. Mich. 2009)(citation omitted)(“[i]n addition to the inherent authority to

issue sanctions as explained in Chambers [v. NASCO, Inc., 501 U.S. 32, 43 (1991)], 11 U.S.C.

§ 105(a) grants to federal bankruptcy courts the authority to issue sanctions” and “bankruptcy

courts have both an inherent and a statutory power to issue sanctions . . . [which] can be applied


serve a witness list, listing himself as a witness, by the June 18, 2012 deadline, and he did not do so.
Second, Debtor has not given any persuasive reason why the Endura Coatings agreement could not have
been finalized and signed in time for Debtor to be able to include it in an exhibit list, and give a copy of it
to Becker and the United States Trustee, by the June 18, 2012 deadline. As noted above, for example,
the Debtor admitted during the June 26 hearing that the offer from Endura Coatings had been open to
Debtor for several months.
        29
            While the Debtor’s June 18, 2012 examination was ordered under Fed.R.Bankr.P. 2004, it was
also a deposition subject to the federal civil rules on discovery. Among these are Fed.R.Civ.P. 30(c)(2)
and 26(b)(1), made applicable by Fed.R.Bankr.P. 7026 and 7030, via Fed.R.Bankr.P. 9014(c). Civil Rule
30(c)(2) requires the witness in a deposition to answer all questions (at least all questions not seeking
privileged information; and no privilege is claimed here), even those subject to an objection. Civil Rule
26(b)(1) defines the scope of permissible discovery very broadly, to be “any nonprivileged matter that is
relevant to any party’s claim or defense . . ..”

                                                      16



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to all instances of ‘conduct which abuses the judicial process,’”).

IV. Appropriate relief

       The question now becomes what sanctions are appropriate. Becker seeks relief that

would be dispositive of Debtor’s effort to confirm his plan and avoid conversion to Chapter 7.

Becker seeks an exclusion of evidence that Debtor must present to confirm his plan, and also

conversion of this case to Chapter 7, in addition to an order requiring Debtor to pay Becker’s fees

and costs incurred in bringing the Becker Sanctions Motion.

       In deciding whether to grant dispositive relief as a discovery sanction, the Court considers

all the relevant circumstances, including the following factors:

       (1) whether the party’s failure to comply with the discovery rules is due to
       willfulness, bad faith, or fault;

       (2) whether the adversary was prejudiced by the party’s noncompliance;

       (3) whether the party was warned that failure to comply could lead to [dispositive
       relief such as dismissal]; and

       (4) whether less drastic sanctions were imposed or considered before [dispositive
       relief such as dismissal] was ordered.

See Shapiro v. Plante & Moran, 376 B.R. at 182, (quoting Bass v. Jostens, Inc., 71 F.3d 237, 241

(6th Cir. 1995)(citing Bank One of Cleveland, N.A., v. Abbe, 916 F.2d 1067, 1073 (6th Cir.

1990)). As this Court noted in Shapiro v. Plante & Moran, 376 B.R. at 182-83:

           These are not all requirements that must be met, but rather are factors to be
           considered. “[N]o one factor is dispositive,” see United States v. Reyes,
           307 F.3d 451, 458 (6th Cir. 2002), except that as noted above, Sixth
           Circuit cases hold that the sanction of dismissal may not be used in the
           absence of the first factor — “willfulness, bad faith, or fault.”

       Considering these factors, the Court finds first that Debtor’s failures were “willful.” As



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this Court noted in Shapiro v. Plante & Moran, 376 B.R. at 183,

            In Bass v. Jostens, Inc., 71 F.3d 237, 241 (6th Cir. 1995), the Sixth Circuit
            held that “a willful violation . . . is any conscious or intentional failure to
            comply.” (citing Brookdale Mill v. Rowley, 218 F.2d 728, 729 (6th Cir.
            1954).

Debtor’s failures here clearly were conscious and intentional.

        Second, Becker clearly was prejudiced by Debtor’s failures here, as was the United States

Trustee. The Court had to delay, and then adjourn to a later date, the evidentiary hearing

scheduled for June 26. Had the evidentiary hearing gone forward on June 26 as scheduled, and

had the Debtor been permitted to testify about his new consulting agreement with Endura

Coatings, Becker would have been surprised and unprepared to react to such evidence, since it

had not had any opportunity to investigate that evidence, and had not obtained any discovery

about it.

        But that form of prejudice to Becker can now be completely prevented, by the Court now

giving Becker the opportunity to obtain full discovery about the Endura Coatings agreement, and

about any other prospects for future income that Debtor may have, including a further deposition

of Debtor (in which Debtor will be required to answer all questions,) and including discovery

from Endura Coatings. As discussed below, this is what the Court will do.

        Becker has suffered another form of prejudice, in the form of the reasonable attorney fees

and expenses Becker has incurred because of Debtor’s failings. The Court can remedy this form

of prejudice, however, by requiring Debtor to pay Becker for all such fees and expenses, before

the Court will even consider confirming Debtor’s First Amended Plan. The Court will impose

this remedy.



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       Becker has not suffered, and will not suffer, any other form of prejudice because of

Debtor’s failings.

        The third factor above, i.e., whether the Court gave Debtor any prior warning that failure

to comply with the Rule 2004 examination orders, the Court’s May 3, 2012 Order, and Civil

Rules 26 and 30, could lead to the non-monetary sanctions Becker seeks (exclusion of witnesses;

conversion of the case to Chapter 7,) is not present in this case. Becker has not identified any

such specific warning, and the Court does not recall any.

       The fourth factor above is whether this Court has imposed or considered sanctions less

drastic than the non-monetary sanctions Becker seeks. The Court has not previously imposed

any sanctions on the Debtor in this case. The Court does consider, now, the possibility of

imposing less drastic sanctions on Debtor. In so doing, the Court concludes that it should indeed

impose sanctions less drastic than what Becker seeks, although it is a very close call. Rather than

converting this case to Chapter 7 now; and rather than precluding Debtor from introducing

evidence at the evidentiary hearing regarding confirmation, which could be fatal to Debtor’s

chances of confirming his plan and avoiding conversion to Chapter 7, the Court will instead

impose less drastic relief at this time. Such relief will, in the Court’s view, prevent and remedy

any prejudice to Becker, while giving the Debtor another chance to fully comply with his

discovery and disclosure obligations. In doing so, the Court is going out of its way to give

Becker a full opportunity to try to prove his case for confirmation of the First Amended Plan.

       Considering all of these factors, and under all the circumstances presented here, including

the fact that Debtor had lost his attorney in this case shortly before the June 18, 2012

examination, the Court will enter an order denying the Becker Sanctions Motion to the extent it


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seeks any sanctions or relief other than the following monetary sanctions. While the Court is

exercising its discretion in a more lenient manner than Becker seeks, the Court repeats that this

decision has been a very close call.

        By a date certain to be set later, but which will occur before the Court holds the

evidentiary hearing on confirmation, Debtor will be required to pay Becker the full amount of the

reasonable attorney fees and expenses incurred by Becker in preparing and prosecuting the

Becker Sanctions Motion. The amount of such fees and expenses will be determined under

procedures to be described in the Court’s order.

        In addition, the Court’s order will grant Becker and the United States Trustee leave to

conduct further discovery, as described in this opinion above.

V. A word of warning to the Debtor

        The Court now cautions Debtor that if he fails to fully cooperate in discovery at any time

after the date of this opinion, or if he fails to serve a witness list, exhibit list, or exhibit copies by

the new deadline being set by the Court, or if he refuses to answer any question in any further

deposition or Rule 2004 examination, the Court may order more drastic sanctions against Debtor,

including denial of confirmation of Debtor’s Chapter 11 plan; conversion of this case to Chapter

7; and/or further monetary sanctions.

VI. Conclusion

        For the reasons stated in this opinion, the Court will enter a separate order granting the

Becker Sanctions Motion in part, in the form of the relief described above.

Signed on July 20, 2012                                  /s/ Thomas J. Tucker
                                                         Thomas J. Tucker
                                                         United States Bankruptcy Judge


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